 Case 16-00066               Doc 876        Filed 11/08/23 Entered 11/08/23 12:26:42 Desc Main
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            Case: 23-1046                 Document: 41       Filed: 10/10/2023   Pages: 1
    UNITED STATES COURT OF APPEALS FOR THE SEVENTH CIRCUIT


        Everett McKinley Dirksen
                                                                                   Office of the Clerk
        United States Courthouse
                                                                                  Phone: (312) 435-5850
     Room 2722 - 219 S. Dearborn Street
                                                                                  www.ca7.uscourts.gov
          Chicago, Illinois 60604




                                                    FINAL JUDGMENT
October 10, 2023

                                                     Before
                                     DIANE P. WOOD, Circuit Judge
                                     MICHAEL B. BRENNAN, Circuit Judge
                                     DORIS L. PRYOR, Circuit Judge

                                     IN RE: MICHAEL WOLF,
                                               Debtor

                                     --------------------------------

                                     N. NEVILLE REID, not individually but solely in his capacity as
Nos. 23-1045, 23-1046,               Chapter 7 Trustee for the bankruptcy estate of Michael A. Wolf,
23-1047 & 23-1048                               Plaintiff - Appellee

                                     v.



                                     SCOTT WOLF and MICHAEL WOLF,
                                             Defendants - Appellants
Originating Case Information:
District Court Nos: 1:18-cv-07952, 1:18-cv-07953, 1:19-cv-08154 & 1:19-cv-01978
Northern District of Illinois, Eastern Division
District Judge John J. Tharp, Jr.


The judgments of the District Court are AFFIRMED, with costs, in accordance with the decision
of this court entered on this date.




                                                                         Clerk of Court

form name: c7_FinalJudgment        (form ID: 132)
